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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                    ***

4

5     UNITED STATES OF AMERICA,

6                          Plaintiff,                   2:15-cr-00286-LDG-VCF
                                                        ORDER
7     vs.
      ANDRE JACKSON,
8
                           Defendant.
9
            Before the court is Defendant Andre Jackson's counsel's Motion to Withdraw as Attorneys of
10
     Record (#60).
11
            Accordingly,
12
            IT IS HEREBY ORDERED that a hearing on Defendant Andre Jackson's counsel's Motion to
13
     Withdraw as Attorneys of Record (#60) is scheduled for 1:00 p.m., January 26, 2016, in courtroom 3D.
14
            IT IS FURTHER ORDERED that Andre Jackson must attend in person at the hearing scheduled
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     for 1:00 p.m., January 26, 2016.
16
            DATED this 31st day of December, 2015.
17

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19                                                             _________________________
                                                               CAM FERENBACH
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                                                               UNITED STATES MAGISTRATE JUDGE
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